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DUPLICATE

Court Name: U S DISTRICT COURT - AL/N
Division: 2
Recei pt Number: 4502032150
Cashier ID: khaynes
Transaction Date: 06/03/2014
Pa yer Name: WHITTELSEY WHITTELSEY POOLE

CIVIL FILING FEE
 For: WHITTELSEY WHITTELSEY POOLE
 Case/Part y : O-ALH-3-14-CV-000408-001
 Amount:          $400.00

CHECK
 Check/Mone y Order Num: 12086
 Amt Tendered: $400.00

Total Due:      $
Total Tendered:
Chan ge Amt:      0.00

3:14-cv-00408-WC



Pro Lawns, Inc. v. Fidelit y and
Deposit Com pany of Mar y land et al
